  Case 1:23-cv-11195-SHS-OTW        Document 52     Filed 02/26/24   Page 1 of 35



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


THE NEW YORK TIMES COMPANY,

                       Plaintiff,                 Case No. 1:23-cv-11195 (SHS) (OTW)

           v.                                     MEMORANDUM OF LAW
                                                  IN SUPPORT OF OPENAI
MICROSOFT CORPORATION, OPENAI, INC.,              DEFENDANTS’ MOTION TO
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,           DISMISS
OPENAI OPCO LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, OPENAI                      ORAL ARGUMENT REQUESTED
HOLDINGS, LLC,
                       Defendants.
       Case 1:23-cv-11195-SHS-OTW                         Document 52               Filed 02/26/24             Page 2 of 35



                                                TABLE OF CONTENTS


I.       INTRODUCTION .............................................................................................................. 1

II.      BACKGROUND ................................................................................................................ 4

         A.        OpenAI’s Pioneering Research ............................................................................... 4

         B.        The Key to Generalist Language Models: Scale..................................................... 6

         C.        Reliance on Longstanding Fair Use Principles ....................................................... 7

         D.        GPT-3.5 and GPT-4 ................................................................................................ 8

         E.        OpenAI’s API and ChatGPT .................................................................................. 9

         F.        The Times Files Suit ............................................................................................. 10

         G.        The Times Focuses on Two Fringe Behaviors: Regurgitation & Hallucination .. 10

                   1.         Outputs from Developer Tools ................................................................. 12

                   2.         ChatGPT Outputs ...................................................................................... 13

III.     LEGAL STANDARD ....................................................................................................... 14

IV.      ARGUMENT .................................................................................................................... 14

         A.        The Times Cannot Sue for Conduct Occurring More than Three Years Ago ...... 15

         B.        The Complaint Fails to State a Contributory Infringement Claim ....................... 15

         C.        The DMCA Claim Fails for Multiple Independent Reasons ................................ 17

                   1.         The Times Did Not Specify the CMI at Issue........................................... 17

                   2.         The Training-Based Section 1202 Claim Fails ......................................... 18

                   3.         The Output-Based Section 1202 Claim Fails............................................ 20

                   4.         The Times Fails to Allege a CMI-Based Injury........................................ 21

         D.        The “Misappropriation” Claim Is Preempted by the Copyright Act .................... 22

                   1.         The Text Claim Fails ................................................................................ 22

                   2.         The Recommendations Claim Fails .......................................................... 23

V.       CONCLUSION ................................................................................................................. 25



                                                                   i
     Case 1:23-cv-11195-SHS-OTW                             Document 52               Filed 02/26/24              Page 3 of 35



                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

                                                                CASES

A’Lor Int’l, Ltd. v. Tapper Fine Jewelry, Inc.,
   No. 12-cv-02215, 2012 WL 12921035 (C.D. Cal. Aug. 8, 2012) ...........................................21

Andersen v. Stability AI Ltd.,
   No. 23-cv-00201, 2023 WL 7132064 (N.D. Cal. Oct. 30, 2023) ............................................18

Arcesium, LLC v. Advent Software, Inc.,
   No. 20-cv-04389, 2021 WL 1225446 (S.D.N.Y. Mar. 31, 2021) ............................................14

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................14

Authors Guild v. Google, Inc. (Google Books),
   804 F.3d 202 (2d Cir. 2015)...................................................................................................3, 8

Authors Guild, Inc. v. HathiTrust,
   755 F.3d 87 (2d Cir. 2014).........................................................................................................3

Baker v. Selden,
   101 U.S. 99 (1879) .....................................................................................................................3

Barclays Capital Inc. v. Theflyonthewall.com, Inc.,
   650 F.3d 876 (2d Cir. 2011).........................................................................................23, 24, 25

BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc.,
  881 F.3d 293 (4th Cir. 2018) ...................................................................................................16

Clanton v. UMG Recordings, Inc.,
   556 F. Supp. 3d 322 (S.D.N.Y. 2021)........................................................................................3

Commil USA, LLC v. Cisco Sys., Inc.,
  575 U.S. 632 (2015) .................................................................................................................16

Design Pics Inc. v. PBH Network, Inc.,
   No. 20-cv-1096, 2020 WL 8413512 (E.D.N.Y. Oct. 27, 2020) ..............................................18

DiFolco v. MSNBC Cable L.L.C.,
   622 F.3d 104 (2d Cir. 2010).......................................................................................................4

Doe 1 v. GitHub, Inc.,
   No. 22-cv-06823, 2024 WL 235217 (N.D. Cal. Jan. 22, 2024) ...............................................21

Dow Jones & Co., Inc. v. Juwai Ltd.,
  No. 21-cv-7284, 2023 WL 2561588 (S.D.N.Y. Mar. 17, 2023) ........................................15, 16


                                                                    ii
     Case 1:23-cv-11195-SHS-OTW                            Document 52              Filed 02/26/24              Page 4 of 35


                                                                                                                             Page(s)


Faulkner Press, L.L.C. v. Class Notes, L.L.C.,
   756 F. Supp. 2d 1352 (N.D. Fla. 2010)....................................................................................21

Financial Information, Inc. v. Moody’s Investors Serv., Inc.,
   808 F.2d 204 (2d Cir. 1986)...............................................................................................23, 25

First Nationwide Bank v. Gelt Funding Corp.,
    27 F.3d 763 (2d Cir. 1994).......................................................................................................19

Fischer v. Forrest,
   286 F. Supp. 3d 590 (S.D.N.Y. 2018)......................................................................................21

FurnitureDealer.Net, Inc v. Amazon.com, Inc,
   No. 18-cv-232, 2022 WL 891473 (D. Minn. Mar. 25, 2022) ..................................................20

GC2 Incorporated v. Int’l Game Tech. PLC,
  255 F. Supp. 3d 812 (N.D. Ill. 2017) .......................................................................................18

Google LLC v. Oracle Am., Inc.,
   141 S. Ct. 1183 (2021) ...........................................................................................................3, 8

Hartmann v. Apple, Inc.,
   No. 20-cv-6049-GHW, 2021 WL 4267820 (S.D.N.Y. Sept. 20, 2021) ..................................16

Hartmann v. Popcornflix.com LLC,
   No. 20-cv-4923, 2023 WL 5715222 (S.D.N.Y. Sept. 5, 2023) .........................................16, 17

Hesse v. Godiva Chocolatier, Inc.,
   463 F. Supp. 3d 453 (S.D.N.Y. 2020)........................................................................................2

Hoehling v. Universal City Studios, Inc.,
   618 F.2d 972 (2d Cir. 1980).................................................................................................3, 10

In re Jackson,
    972 F.3d 25 (2d Cir. 2020).................................................................................................22, 23

In re UBS Auction Rate Sec. Litig.,
    No. 08-cv-2967, 2010 WL 2541166 (S.D.N.Y. June 10, 2010) ..........................................7, 13

Int’l News Serv. v. Associated Press,
    248 U.S. 215 (1918) .......................................................................................................3, 24, 25

Kelly v. Arriba Soft Corp.,
   336 F.3d 811 (9th Cir. 2003) .....................................................................................................8




                                                                   iii
     Case 1:23-cv-11195-SHS-OTW                            Document 52               Filed 02/26/24             Page 5 of 35


                                                                                                                              Page(s)


Kelly v. Arriba Soft Corp.,
   77 F. Supp. 2d 1116 (C.D. Cal. 1999),
   rev'd on other grounds by 336 F.3d 811 (9th Cir. 2003) .............................................19, 21, 22

Lefkowitz v. John Wiley & Sons,
   No. 13-cv-6414, 2014 WL 2619815 (S.D.N.Y. June 2, 2014) ................................................16

Luvdarts LLC v. AT & T Mobility, LLC,
   710 F.3d 1068 (9th Cir. 2013) ...........................................................................................16, 17

Mango v. BuzzFeed, Inc.,
  970 F.3d 167 (2d Cir. 2020).....................................................................................................17

McDonald v. West,
  138 F. Supp. 3d 448 (S.D.N.Y. 2015)......................................................................................10

McGucken v. Shutterstock, Inc.,
  No. 22-cv-00905, 2023 WL 6390530 (S.D.N.Y. Oct. 2, 2023) ...............................................19

Med. Educ. Dev. Servs. v. Reed Elsevier Grp., PLC,
  No. 05-cv-8665, 2008 WL 4449412 (S.D.N.Y. Sep. 30, 2008) ................................................3

Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
   545 U.S. 913 (2005) .................................................................................................................16

MyPlayCity, Inc. v. Conduit Ltd.,
  No. 10-cv-1615, 2012 WL 1107648 (S.D.N.Y. Mar. 30, 2012) ..............................................20

Roberts v. BroadwayHD LLC,
   518 F. Supp. 3d 719 (S.D.N.Y. 2021)......................................................................................20

Sony Corp. of Am. v. Universal City Studios, Inc.,
   464 U.S. 417 (1984) .......................................................................................................8, 15, 16

State Street Global Advisors Trust Co. v. Visbal,
    431 F. Supp. 3d 322 (S.D.N.Y. 2020)......................................................................................16

Steele v. Bongiovi,
    784 F. Supp. 2d 94 (D. Mass. 2011) ........................................................................................21

Tiffany (NJ) Inc. v. eBay Inc.,
    600 F.3d 93 (2d Cir. 2010).......................................................................................................16

Tremblay v. OpenAI, Inc.
   No. 3:23-cv-03416, 2024 WL 557720 (N.D. Cal. Feb. 12, 2024) ...............................19, 20, 21




                                                                   iv
     Case 1:23-cv-11195-SHS-OTW                                Document 52                 Filed 02/26/24               Page 6 of 35


                                                                                                                                      Page(s)


United States v. Kubrick,
   444 U.S. 111 (1979) .................................................................................................................15

Viacom Int’l, Inc. v. YouTube, Inc.,
   676 F.3d 19 (2d Cir. 2012).......................................................................................................16

Victor Elias Photography, LLC v. Ice Portal, Inc.,
    43 F.4th 1313 (11th Cir. 2022) ................................................................................................20

Wood v. Observer Holdings, LLC,
  No. 20-cv-07878, 2021 WL 2874100 (S.D.N.Y., July 8, 2021) ..............................................18

Wright v. Miah,
   No. 22-cv-4132, 2023 WL 6219435 (E.D.N.Y. Sept. 7, 2023) ...............................................20

Zuma Press, Inc. v. Getty Images (US), Inc.,
   845 F. App’x 54 (2d Cir. 2021) ...............................................................................................17

                                                               STATUTES

17 U.S.C.
   § 102.....................................................................................................................................3, 23
   § 301...................................................................................................................................22, 23
   § 507...................................................................................................................................15, 18
   § 512.........................................................................................................................................16
   § 1202............................................................................................................................... passim
   § 1203.......................................................................................................................................22

35 U.S.C. § 271(b) .........................................................................................................................15

                                            CONSTITUTIONAL PROVISIONS

U.S. CONST. Article 1, § 8, cl. 8 .....................................................................................................10

                                                    OTHER AUTHORITIES

Adam Gross, I Asked ChatGPT AI to Write a Sonnet, LinkedIn (Mar. 2023),
   https:// www.linkedin.com/posts/grossadam_i-asked-chatgpt-ai-to-write-a-
   sonnet-in-iambic-activity-040728019300229120-ZBNa/..........................................................1

Cade Metz, Meet GPT-3. It Has Learned to Code (and Blog and Argue), N.Y.
   Times (Nov. 24, 2020),
   https://www.nytimes.com/2020/11/24/science/artificial-intelligence-ai-
   gpt3.html ....................................................................................................................................7




                                                                        v
     Case 1:23-cv-11195-SHS-OTW                                Document 52                 Filed 02/26/24                Page 7 of 35


                                                                                                                                       Page(s)


Edmund White, In 'The Talented Mr. Ripley,' A Shape-Shifting Protagonist Who's
  Up to No Good, N.Y. Times Style Magazine (Mar. 24, 2021),
  https://www.nytimes.com/2021/03/24/t-magazine/talented-mr-ripley-patricia-
  highsmith.html ...........................................................................................................................8

Farhad Manjoo, How Do You Know a Human Wrote This?, N.Y. Times (July 29,
   2020), https://www.nytimes.com/2020/07/29/opinion/gpt-3-ai-
   automation.html .........................................................................................................................7

Francesca Paris & Larry Buchanan, 35 Ways Real People Are Using A.I. Right
   Now, N.Y. Times (Apr. 14, 2023),
   https://www.nytimes.com/interactive/2023/04/14/upshot/up-ai-uses.html ...............................2

George Getschow, The Best American Newspaper Narratives of 2012, Project
   Muse, https://muse.jhu.edu/pub/172/edited_volume/chapter/1142918 (last
   visited Feb. 11, 2024)...............................................................................................................13

Gerrit J.J. van den Burg & Christopher K.I. Williams, On Memorization in
   Probabilistic Deep Generative Models (2021),
   https://proceedings.neurips.cc/paper/2021/file/eae15aabaa768ae4a5993a8a4f4
   fa6e4-Paper.pdf ..................................................................................................................10, 11

Goldman Sachs, Generative AI Could Raise Global GDP by 7% (Apr. 5, 2023),
   https://www.goldmansachs.com/intelligence/pages/generative-ai-could-raise-
   global-gdp-by-7-percent.html ....................................................................................................1

H.R. Rep. No. 94-1476 (1976) .........................................................................................................8

Hurubie Meko, The Precarious, Terrifying Hours After a Woman Was Shoved
   Into a Train, N.Y. Times (May 25, 2023),
   https://www.nytimes.com/2023/05/25 /nyregion/subway-attack-woman-
   shoved-manhattan.html?smid=url-share ..................................................................................14

Hurubie Meko, The precarious, terrifying hours after a woman was shoved into a
   train, Seattle Times (May 27, 2023), https://www.seattletimes.com /nation-
   world/nation/the-precarious-terrifying-hours-after-a-woman-was-shoved-into-
   a-train/ ......................................................................................................................................14

John Branch, Snow Fall: The Avalanche at Tunnel Creek, N.Y. Times,
   https://www.nytimes.com/projects/2012/snow-fall/index.html#/?part=tunnel-
   creek (last accessed Feb. 11, 2024) ..........................................................................................18

Louis Hyman, It's Not the End of Work. It's the End of Boring Work, N.Y. Times
   (Apr. 22, 2023), https://www.nytimes.com/2023/04/22/opinion/jobs-ai-
   chatgpt.html ...............................................................................................................................1




                                                                        vi
     Case 1:23-cv-11195-SHS-OTW                             Document 52               Filed 02/26/24              Page 8 of 35


                                                                                                                                Page(s)


McKinsey & Company, The Economic Potential of Generative AI: The Next
  Productivity Frontier (June 14, 2023),
  https://www.mckinsey.com/capabilities/mckinsey-digital/our-insights/the-
  economic-potential-of-generative-ai-the-next-productivity-frontier .........................................1

Michael S. Schmidt & Steven Lee Myers, Panama Law Firm's Leaked Files
   Detail Offshore Accounts Tied to World Leaders, N.Y. Times (Apr. 3, 2016),
   https://www.nytimes.com/2016/04/04/us/politics/leaked-documents-offshore-
   accounts-putin.html ....................................................................................................................3

Microsoft, The Impact of Large Language Models on Scientific Discovery: a
   Preliminary Study using GPT-4 (Dec. 8, 2023),
   https://arxiv.org/pdf/2311.07361.pdf .........................................................................................1

N.Y. Times, Ethical Journalism: A Handbook,
   https://www.nytimes.com/editorial-standards/ethical-
   journalism.html#introductionAndPurpose (last accessed Feb. 25, 2024)..................................2

Nicholas Lemann, The Panama Papers and the Monster Stories of the Future,
   New Yorker (Apr. 14, 2016) https://www.newyorker.com/news/news-
   desk/the-panama-papers-and-the-monster-stories-of-the-future................................................3

OpenAI Blog, Introducing ChatGPT Enterprise (Aug. 28, 2023),
   https://openai.com/blog/introducing-chatgpt-enterprise ..........................................................10

OpenAI Blog, Introducing ChatGPT Plus (Feb. 1, 2023),
   https://openai.com/blog/chatgpt-plus .........................................................................................9

OpenAI, GPT-2 Model Card, Github, https://github.com/openai/gpt-
   2/blob/master/model_card.md (last updated Nov. 2019) .......................................................5, 6

OpenAI, GPT-4 Technical Report (2023), https://cdn.openai.com/papers/gpt-4.pdf....................11

OpenAI, Language Models are Few-Shot Learners (July 22, 2020),
   https://arxiv.org/pdf/2005.14165.pdf .............................................................................4, 5, 6, 7

OpenAI, Language Models are Unsupervised Multitask Learners (Feb. 14, 2019),
   https://cdn.openai.com/better-language-
   models/language_models_are_unsupervised_multitask_learners.pdf ...................................5, 6

OpenAI, Terms of Use, https://openai.com/policies/mar-2023-terms .............................................2

Pete Wells, As Not Seen on TV, N.Y. Times (Nov. 13, 2012),
   https://www.nytimes.com/2012/11/14/dining/reviews/restaurant-review-guys-
   american-kitchen-bar-in-times-square.html .............................................................................18




                                                                    vii
     Case 1:23-cv-11195-SHS-OTW                               Document 52                Filed 02/26/24               Page 9 of 35


                                                                                                                                     Page(s)


Ran Ronen, How Generative AI Tools Like ChatGPT Can Revolutionize Web
   Accessibility, VentureBeat (July 8, 2023), https://venturebeat.com/ai/how-
   generative-ai-tools-like-chatgpt-can-revolutionize-web-accessibility/......................................1

Raphael Brion, In Which Guy Fieri Answers Pete Wells' Many Questions, Eater
   (Nov. 14, 2012), https://www.eater.com/2012/11/14/6522571/in-which-guy-
   fieri-answers-pete-wells-many-questions ................................................................................13

S. Rep. No. 105-190 (1998) ...........................................................................................................17

Sébastien Bubeck, et al., Sparks of Artificial General Intelligence: Early
   Experiments with GPT-4 (Apr. 13, 2023),
   https://arxiv.org/pdf/2303.12712.pdf .....................................................................................4, 9

Sheena Vasani, Be My Eyes AI Offers GPT-4-Powered Support for Blind
   Microsoft Customers, Verge (Nov. 15, 2023),
   https://www.theverge.com/2023/11/15/23962709/microsoft-blind-users-open-
   ai-chatgpt-4-be-my-eyes ............................................................................................................1

Uday Dandavate, How I Used ChatGPT to Write Haiku, Medium (Sept. 2, 2023),
   https://uday-dandavate.medium.com/how-i-used-chatgpt-to-write-haiku-
   5904ee96360d ............................................................................................................................1

Zetolgam, The Chatbot Limerick Writer, AllPoetry (Dec. 2022)
   https://allpoetry.com/poem/16903411-The-Chatbot-Limerick-Writer-by-
   Zetolgam ....................................................................................................................................1




                                                                      viii
     Case 1:23-cv-11195-SHS-OTW                   Document 52           Filed 02/26/24         Page 10 of 35




I.       INTRODUCTION

         The artificial intelligence (AI) tool known as ChatGPT is many things: a revolutionary

technology with the potential to augment human capabilities, fostering our own productivity and

efficiency;1 an accelerator for scientific and medical breakthroughs;2 a mechanism for making

existing technologies accessible to more people;3 an aid to help the visually impaired navigate the

world;4 a creative tool that can write sonnets, limericks, and haikus;5 and a computational engine

that reasonable estimates posit may add trillions of dollars of growth across the global economy.6

         Contrary to the allegations in the Complaint, however, ChatGPT is not in any way a

substitute for a subscription to The New York Times. In the real world, people do not use ChatGPT

or any other OpenAI product for that purpose. Nor could they. In the ordinary course, one cannot

use ChatGPT to serve up Times articles at will.

         The Times has sought to paint a different picture. Its lawsuit alleges that OpenAI has

imperiled the very enterprise of journalism, illustrating the point with 100 examples in which some

version of OpenAI’s GPT-4 model supposedly generated several paragraphs of Times content as

outputs in response to user prompts. See Dkt. 1-68 (Exhibit J).

1
   Louis Hyman, It’s Not the End of Work. It’s the End of Boring Work, N.Y. Times (Apr. 22, 2023),
https://www.nytimes.com/2023/04/22/opinion/jobs-ai-chatgpt.html.
2
  Microsoft, The Impact of Large Language Models on Scientific Discovery: a Preliminary Study Using GPT-4 (Dec.
8, 2023), https://arxiv.org/pdf/2311.07361.pdf (deployments in “biology and materials design” and “drug discovery”).
3
  Ran Ronen, How Generative AI Tools Like ChatGPT Can Revolutionize Web Accessibility, VentureBeat (July 8,
2023), https://venturebeat.com/ai/how-generative-ai-tools-like-chatgpt-can-revolutionize-web-accessibility/.
4
  Sheena Vasani, Be My Eyes AI Offers GPT-4-Powered Support for Blind Microsoft Customers, Verge (Nov. 15,
2023), https://www.theverge.com/2023/11/15/23962709/microsoft-blind-users-open-ai-chatgpt-4-be-my-eyes.
5
    Adam Gross, I Asked ChatGPT AI to Write a Sonnet, LinkedIn (Mar. 2023), https://
www.linkedin.com/posts/grossadam_i-asked-chatgpt-ai-to-write-a-sonnet-in-iambic-activity-040728019300229120-
ZBNa/; Zetolgam, The Chatbot Limerick Writer, AllPoetry (Dec. 2022) https://allpoetry.com/poem/16903411-The-
Chatbot-Limerick-Writer-by-Zetolgam; Uday Dandavate, How I Used ChatGPT to Write Haiku, Medium (Sept. 2,
2023), https://uday-dandavate.medium.com/how-i-used-chatgpt-to-write-haiku-5904ee96360d.
6
  McKinsey & Company, The Economic Potential of Generative AI: The Next Productivity Frontier (June 14, 2023),
https://www.mckinsey.com/capabilities/mckinsey-digital/our-insights/the-economic-potential-of-generative-ai-the-
next-productivity-frontier (“generative AI could add the equivalent of $2.6 trillion to $4.4 trillion annually” to the
global economy); see also Goldman Sachs, Generative AI Could Raise Global GDP by 7% (Apr. 5, 2023),
https://www.goldmansachs.com/intelligence/pages/generative-ai-could-raise-global-gdp-by-7-percent.html.



                                                          1
    Case 1:23-cv-11195-SHS-OTW                    Document 52           Filed 02/26/24          Page 11 of 35




         The allegations in the Times’s Complaint do not meet its famously rigorous journalistic

standards.7 The truth, which will come out in the course of this case, is that the Times paid

someone to hack OpenAI’s products. It took them tens of thousands of attempts to generate the

highly anomalous results that make up Exhibit J to the Complaint. They were able to do so only

by targeting and exploiting a bug (which OpenAI has committed to addressing) by using deceptive

prompts that blatantly violate OpenAI’s terms of use.8 And even then, they had to feed the tool

portions of the very articles they sought to elicit verbatim passages of, virtually all of which already

appear on multiple public websites. Normal people do not use OpenAI’s products in this way.9

         Journalism has undergone many changes in the digital age, and may well undergo more

with the advent of AI. OpenAI has established important partnerships with many leaders in the

news industry—from large enterprises like the Associated Press and Axel Springer to the dozens

of smaller and local outlets associated with the American Journalism Project—to creatively

explore and implement AI solutions that assist investigative reporting, create enhanced reader

experiences, and improve business operations. The Times’s suggestion that the contrived attacks

of its hired gun show that the Fourth Estate is somehow imperiled by this technology is pure fiction.

So too is its implication that the public en masse might mimic its agent’s aberrant activity.

         There is a genuinely important issue at the heart of this lawsuit—critical not just to OpenAI,

but also to countless start-ups and other companies innovating in this space—that is being litigated

both here and in over a dozen other cases around the country (including in this Court): whether it

7
   Cf. N.Y. Times, Ethical Journalism: A Handbook, https://www.nytimes.com/editorial-standards/ethical-
journalism.html#introductionAndPurpose (last accessed Feb. 25, 2024) (“we tell our readers the complete,
unvarnished truth as best we can learn it”; “Staff members…may not commit illegal acts of any sort.”).
8
  OpenAI, Terms of Use § 2(c), https://openai.com/policies/mar-2023-terms (prohibiting use to “infringe[]” others’
“rights” or “extract data”); Hesse v. Godiva Chocolatier, Inc., 463 F. Supp. 3d 453, 463 (S.D.N.Y. 2020) (courts may
take “judicial notice of information publicly announced on a party’s website” if “authenticity is not in dispute”).
9
  Francesca Paris & Larry Buchanan, 35 Ways Real People Are Using A.I. Right Now, N.Y. Times (Apr. 14, 2023),
https://www.nytimes.com/interactive/2023/04/14/upshot/up-ai-uses.html (people use ChatGPT to “[w]rite a []
speech,” “[s]kim dozens of academic articles,” “[a]ppeal an insurance denial,” and “[c]reate new proteins in minutes”).



                                                          2
     Case 1:23-cv-11195-SHS-OTW                   Document 52           Filed 02/26/24          Page 12 of 35




is fair use under copyright law to use publicly accessible content to train generative AI models to

learn about language, grammar, and syntax, and to understand the facts that constitute humans’

collective knowledge. OpenAI and the other defendants in these lawsuits will ultimately prevail

because no one—not even the New York Times—gets to monopolize facts10 or the rules of

language.11 For good reason, there is a long history of precedent holding that it is perfectly lawful

to use copyrighted content as part of a technological process that (as here) results in the creation

of new, different, and innovative products.12 Established copyright doctrine will dictate that the

Times cannot prevent AI models from acquiring knowledge about facts, any more than another

news organization can prevent the Times itself from re-reporting stories it had no role in

investigating.13 As Justice Brandeis explained more than 100 years ago: “The general rule of law

is, that the noblest of human productions—knowledge, truths ascertained, conceptions, and

ideas—become, after voluntary communication to others, free as the air to common use.”14

         All of that said, even assuming (counterfactually) the truth of what the lawsuit alleges,

several of the theories in the Complaint are not viable, even as pleaded. This Motion asks the

Court to trim those at the outset to focus the litigation on the core issues that really matter. In

10
   See, e.g., Baker v. Selden, 101 U.S. 99, 103 (1879) (“The very object of publishing a book … is to communicate to
the world the useful knowledge which it contains. But this object would be frustrated if the knowledge could not be
used without incurring guilt of piracy of the book.”); Hoehling v. Universal City Studios, Inc., 618 F.2d 972, 979 (2d
Cir. 1980) (“[F]actual information is in the public domain.”).
11
   See 17 U.S.C. 102(b); Clanton v. UMG Recordings, Inc., 556 F. Supp. 3d 322, 332 (S.D.N.Y. 2021) (“ordinary
building blocks of the English language” not protectable); Med. Educ. Dev. Servs. v. Reed Elsevier Grp., PLC, No.
05-cv-8665, 2008 WL 4449412, at *6 (S.D.N.Y. Sep. 30, 2008) (no copyright for “concepts such as rules of
punctuation, analogies, vocabulary or other fundamental elements of English composition”).
12
   See, e.g., Authors Guild, Inc. v. HathiTrust, 755 F.3d 87 (2d Cir. 2014) (fair use to create “digital copies of more
than ten million [books]” for search tool); Authors Guild v. Google, Inc. (Google Books), 804 F.3d 202 (2d Cir. 2015)
(fair use to scan millions of copyrighted books to create novel tool); Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183
(2021) (fair use to replicate copyrighted software programming interfaces to create a new mobile platform).
13
   See Nicholas Lemann, The Panama Papers and the Monster Stories of the Future, New Yorker (Apr. 14, 2016)
https://www.newyorker.com/news/news-desk/the-panama-papers-and-the-monster-stories-of-the-future (noting the
Times’s refusal to participate in consortium that broke “Panama Papers” story); Michael S. Schmidt & Steven Lee
Myers, Panama Law Firm’s Leaked Files Detail Offshore Accounts Tied to World Leaders, N.Y. Times (Apr. 3,
2016), https://www.nytimes.com/2016/04/04/us/politics/leaked-documents-offshore-accounts-putin.html.
14
   Int’l News Serv. v. Associated Press, 248 U.S. 215, 250 (1918) (Brandeis, J., dissenting).



                                                          3
      Case 1:23-cv-11195-SHS-OTW                  Document 52           Filed 02/26/24          Page 13 of 35




short: (1) The direct copyright infringement claim asserts liability in part from conduct that is time-

barred because it occurred more than three years ago. (2) The contributory infringement claim

would ascribe liability to OpenAI based on generalized knowledge of third-party infringement,

rather than actual knowledge of specific infringements, which the law requires. (3) The claim for

violations of 17 U.S.C. § 1202 (the “DMCA”) fails for the reasons embraced by every other court

to consider indistinguishable claims against generative AI models: the DMCA simply does not

address the conduct to which the Times seeks to ascribe liability. And (4) the claim for state

common law misappropriation is preempted by the federal Copyright Act.

         OpenAI respectfully seeks an order dismissing these legally infirm portions of the

Complaint, so that the parties can properly and efficiently litigate the balance.

II.      BACKGROUND

         A.       OpenAI’s Pioneering Research

         OpenAI was founded in 2015 to “advance digital intelligence in the way that is most likely

to benefit humanity as a whole.” Compl. ¶ 56. It entered the field of “natural language processing”

(NLP), which includes the development of statistical tools called “language models.”15 These

models can “predict[] words that are likely to follow a given string of text” based on statistics

derived from a body of text—much like a weather model can predict the rain using statistics

derived from historical weather data. Compl. ¶ 75. By 2015, research had already unlocked

“substantial progress” on “tasks such as reading comprehension” and “question answering.”16




15
   Sébastien Bubeck, et al., Sparks of Artificial General Intelligence: Early Experiments with GPT-4 at 4, 98 (Apr. 13,
2023), https://arxiv.org/pdf/2303.12712.pdf (“Bubeck Paper”); Compl. ¶¶ 71, 91 nn.9 & 24 (citing articles). By
“refer[ing] [to these documents] in [its] complaint,” the Times incorporated them by reference. DiFolco v. MSNBC
Cable L.L.C., 622 F.3d 104, 111–12 (2d Cir. 2010).
16
   OpenAI, Language Models are Few-Shot Learners at 3 (July 22, 2020), https://arxiv.org/pdf/2005.14165.pdf
(“GPT-3 Paper”); see also Compl. ¶¶ 86, 90 & nn.18, 22 (citing and quoting this paper).



                                                          4
     Case 1:23-cv-11195-SHS-OTW               Document 52         Filed 02/26/24        Page 14 of 35




        Those early models, however, were “brittle” and “narrow.”17 Researchers built them by

“manually creat[ing] and label[ling]” datasets to “demonstrate[e] correct behavior”—like sets of

English-to-French text translations—and using that data to “train a system to imitate [that]

behavior[].” GPT-2 Paper at 1, 3. The resulting models, while impressive, could only carry out

the specific tasks demonstrated by the training data. Id.; GPT-3 Paper at 3 (“need for task-specific

datasets” was “a major limitation”). “To be broadly useful” to ordinary people, language models

needed the ability to “seamlessly mix together or switch between many tasks and skills” without

being specifically trained to carry out each task. GPT-3 Paper at 4. In other words, the models

needed to be “competent generalists,” not “narrow experts.” GPT-2 Paper at 1.

        OpenAI’s researchers set out to solve that complex, scientific problem. In 2019, they

posited that the way to build more capable, generalist models was to use “as large and diverse a

dataset as possible [] to collect natural language demonstrations of tasks in as varied of domains

and contexts as possible.” GPT-2 Paper at 3. The hypothesis was that “[]training at a large enough

scale [might] offer a ‘natural’ broad distribution of tasks implicitly contained in predicting the text

itself.” GPT-3 Paper at 40. So instead of training its models “on a single domain of text,” OpenAI

chose to use a richer and more diverse source: the Internet. GPT-2 Paper at 3.

        OpenAI’s researchers identified text from webpages whose URLs had been publicly shared

on a social media platform. Id. This became a dataset called “WebText,” which OpenAI used to

train a model called “GPT-2.” Id.; see also Compl. ¶ 85. WebText contained a wide array of text

from internet forums, restaurant reviews, recipe websites, blogs, shopping websites, dictionaries,

medical websites, how-to pages, and more.18 The dataset was so diverse that even though Times

17
     OpenAI, Language Models are Unsupervised Multitask Learners at 1 (Feb. 14, 2019),
https://cdn.openai.com/better-language-models/language_models_are_unsupervised_multitask_learners.pdf (“GPT-2
Paper”); see also Compl. ¶ 85 n.15 (citing and quoting this paper).
18
   See OpenAI, GPT-2 Model Card, Github, https://github.com/openai/gpt-2/blob/master/model_card.md (last



                                                     5
   Case 1:23-cv-11195-SHS-OTW                  Document 52          Filed 02/26/24        Page 15 of 35




content represented only a tiny fraction of the data, the “NYTimes” was one of the “top 15 domains

by volume” in the collection. See GPT-2 Model Card. This happened not because OpenAI

believed Times articles are more “valu[able]” than other content, contra Compl. ¶ 2 (suggesting

OpenAI intentionally “gave Times content particular emphasis”), but because of the frequency

with which certain social media users shared links to the Times’s content, see GPT-2 Paper at 3.

        The results of this sophisticated research were impressive. The GPT-2 model proved able

to answer trivia questions and perform higher-function tasks like “resolv[ing] ambiguities in text.”

GPT-2 Paper at 6–7. The model even showed a “surprising” ability to translate French to English,

even though OpenAI had “deliberately removed non-English webpages” from the training dataset.

Id. at 7. These research results were “exciting” not only because of the model’s capability, but

because they scientifically confirmed that the ability to “perform commonsense reasoning”

increased dramatically with the size and diversity of the training data. Id. at 6 (Figure 3).

        B.       The Key to Generalist Language Models: Scale

        So OpenAI’s research took the logical next step: “scaling up [] model size” by increasing

both the “size” and “diversity” of the training data. See GPT-3 Paper at 6. To build its next

generation of models, OpenAI’s researchers gathered a more robust set of data in part by

“expand[ing]” WebText database into a new version called “WebText2,” which included material

shared over a longer period of time. Id. at 8–9. They also used a filtered version of Common

Crawl, a repository of data collected by a non-profit research organization representing “a copy of

the Internet.” Compl. ¶ 88. OpenAI disclosed all of this no later than July 22, 2020. GPT-3 Paper

at 8. At the time, it was common knowledge that WebText2 and Common Crawl included

numerous articles published by the Times.19

updated Nov. 2019) (“GPT-2 Model Card”); see also Compl. ¶ 85 nn. 14, 16, 17 (citing and quoting this source).
19
   Compl. ¶ 88 (citing a “2019 snapshot of Common Crawl”); GPT-2 Model Card (noting prevalence of Times content



                                                      6
   Case 1:23-cv-11195-SHS-OTW                    Document 52           Filed 02/26/24         Page 16 of 35




        The result of this simple act of “scaling up” the training data was, as the Times reported at

the time, “mind blowing.”20 The new GPT-3 model was “by far the most powerful ‘language

model’ ever created.” Manjoo, supra note 20. It could conduct “on-the-fly reasoning” and

“unscrambl[e] words, perform[] arithmetic, and us[e] novel words in a sentence after seeing them

defined only once.” GPT-3 Paper at 5. Increasing the scale of training led to a surprising jump in

ability. See, e.g., id. at 22 (Figure 3.10). According to the Times’s reporting, GPT-3 showed that

“[m]achines are gaining the ability to write.” Manjoo, supra note 20. Within days, developers

began to use it to build unprecedented tools. Id. (“service that responds to email on your behalf”).

        The “key advance,” as the Times reported, was “GPT-3’s flexibility.” Id. And the reason

it was flexible was OpenAI’s decision to “scal[e] up” the “size” of the training data. GPT-3 Paper

at 6. The amount of data needed was staggering. Compl. ¶ 85. But it was that “unprecedented

scale” that allowed the model to internalize not only a “map of human language,” but achieve a

level of adaptability—and “emergent” intelligence—that “no one thought possible.”21

        C.       Reliance on Longstanding Fair Use Principles

        By July 2020, OpenAI had disclosed that Times articles were a tiny part of the diverse

datasets that had been used to train these language models. And according to the Complaint, by

the time GPT-3 was released in mid-2020, OpenAI had already established itself as a “commercial

enterprise.” Compl. ¶ 57. The Times itself reported in 2020 that “OpenAI plans to sell access to

GPT-3 via the internet, turning it into a widely used commercial product.” Metz, supra note 21.

While its reporters joked they “might be put out to pasture by a machine,” Manjoo, supra note 20,

in WebText); GPT-3 Paper at 8 (noting WebText2 is an “expanded version of the WebText dataset”).
20
    Farhad Manjoo, How Do You Know a Human Wrote This?, N.Y. Times (July 29, 2020),
https://www.nytimes.com/2020/07/29/opinion/gpt-3-ai-automation.html. The Court may take judicial notice of this
and other news articles cited in this Motion. In re UBS Auction Rate Sec. Litig., No. 08-cv-2967, 2010 WL 2541166,
at *10-12 (S.D.N.Y. June 10, 2010) (judicial notice of “several news items” including Wall Street Journal articles).
21
   Cade Metz, Meet GPT-3. It Has Learned to Code (and Blog and Argue), N.Y. Times (Nov. 24, 2020),
https://www.nytimes.com/2020/11/24/science/artificial-intelligence-ai-gpt3.html.



                                                         7
     Case 1:23-cv-11195-SHS-OTW                 Document 52          Filed 02/26/24         Page 17 of 35




the Times never accused OpenAI of violating copyright law. Instead, the Times enthusiastically

and factually reported that the technology could be “enormously useful” and “open[] the door to a

wide range of new possibilities.” Manjoo, supra note 20; Metz, supra note 21.

        Indeed, it has long been clear that the non-consumptive use of copyrighted material (like

large language model training) is protected by fair use—a doctrine as important to the Times itself

as it is to the American technology industry.22 Since Congress codified that doctrine in 1976, see

H.R. Rep. No. 94-1476, at 65–66 (1976) (courts should “adapt” defense to “rapid technological

change”), courts have used it to protect useful innovations like home video recording, internet

search, book search tools, reuse of software APIs, and many others.23

        These precedents reflect the foundational principle that copyright law exists to control the

dissemination of works in the marketplace—not to grant authors “absolute control” over all uses

of their works. Google Books, 804 F.3d at 212. Copyright is not a veto right over transformative

technologies that leverage existing works internally—i.e., without disseminating them—to new

and useful ends, thereby furthering copyright’s basic purpose without undercutting authors’ ability

to sell their works in the marketplace. See supra note 23. And it is the “basic purpose” of fair use

to “keep [the] copyright monopoly within [these] lawful bounds.” Oracle, 141 S. Ct. at 1198.

OpenAI and scores of other developers invested billions of dollars, and the efforts of some of the

world’s most capable minds, based on these clear and longstanding principles.

        D.       GPT-3.5 and GPT-4

        OpenAI built on that success by researching, developing, and releasing two other models—

GPT-3.5 (in 2022) and GPT-4 (in 2023)—which triggered the AI revolution that we are living

22
   See, e.g., Edmund White, In ‘The Talented Mr. Ripley,’ A Shape-Shifting Protagonist Who’s Up to No Good, N.Y.
Times Style Magazine (Mar. 24, 2021), https://www.nytimes.com/2021/03/24/t-magazine/talented-mr-ripley-
patricia-highsmith.html (including continuous 200-word excerpt from published novel).
23
   Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 454–55 (1984); Kelly v. Arriba Soft Corp., 336
F.3d 811, 818–22 (9th Cir. 2003); Google Books, 804 F.3d at 209; Oracle, 141 S. Ct. at 1209 (2021).



                                                        8
     Case 1:23-cv-11195-SHS-OTW                Document 52          Filed 02/26/24        Page 18 of 35




through today. GPT-4 “can solve novel and difficult tasks that span mathematics, coding, vision,

medicine, law, psychology and more.” Bubeck Paper at 1. Researchers already use these models

for a growing list of astonishingly productive ends. See supra 1.

        E.       OpenAI’s API and ChatGPT

        Today, there are two primary ways to interact with OpenAI’s models. The first is an

application programming interface (“API”) that allows developers to prompt the models directly

with computer code. Compl. ¶ 62. Developers must specify a number of parameters, including

their desired “Model” version and “Temperature” (i.e., the degree of randomness). See, e.g., id. ¶

140. Developers can supply a “System” prompt, which tells the model how to behave, e.g., “You

are a thespian who speaks only in iambic pentameter.” Id. OpenAI also provides a “Playground”

for developers to experiment with the models. See id.

        The second is ChatGPT, a consumer-friendly platform—accessible for free at

chat.openai.com—to “chat” with an OpenAI model through a user interface.24 Its “Browse with

Bing” feature enables ChatGPT to fetch recent information about events that occurred after the

models’ training “cutoff,” using the Bing search engine. Compl. ¶¶ 72, 108, 112. Using it is the

equivalent of instructing a research assistant to use the Internet to look up a fact she does not yet

know. The feature goes hand-in-hand with others that collectively amplify ChatGPT’s utility. See

Bubeck Paper at 45 (describing ability to “coordinate a dinner” using “APIs to retrieve information

about the user’s calendar, coordinate with other people over email, [and] book the dinner”).

        After its release in November 2022, ChatGPT became an “instant viral sensation.” Compl.

¶ 61. According to the Complaint, by April 2023, the service had 173 million users globally who

rely on ChatGPT to “craft clearer communications, accelerate coding tasks, rapidly explore


24
  Compl. ¶¶ 62, 102; OpenAI Blog, Introducing ChatGPT Plus (Feb. 1, 2023), https://openai.com/blog/chatgpt-plus;
see also Compl. ¶ 149 n.41 (citing this page).



                                                       9
     Case 1:23-cv-11195-SHS-OTW                   Document 52           Filed 02/26/24          Page 19 of 35




answers to complex business questions, assist with creative work, and much more.”25

         F.       The Times Files Suit

         It was only after this rapid adoption, along with reports of the value unlocked by these new

technologies, that the Times claimed that OpenAI had “infringed its copyright[s]” and reached out

to demand “commercial terms.” Compl. ¶¶ 54, 126. After months of discussions, the Times filed

suit two days after Christmas, demanding “billions of dollars.” Id. ¶ 9.

         In its suit, the Times now claims ChatGPT will be the end of “independent journalism.”

Id. ¶¶ 2, 47. Its chief complaint is that OpenAI “use[s]” news articles to build a service the world

has never before seen that, according to the Times, might “steal [its] audiences.” Id. ¶¶ 2, 8. And

its core legal theory is that copyright—a law singularly devoted to the “Progress of Science and

useful Arts,” U.S. CONST. art. 1, § 8, cl. 8—should protect it from that technological innovation.

         G.       The Times Focuses on Two Fringe Behaviors: Regurgitation & Hallucination

         To support its narrative, the Times claims OpenAI’s tools can “closely summarize[]” the

facts it reports in its pages and “mimic[] its expressive style.” Compl. ¶ 4. But the law does not

prohibit reusing facts or styles.26 If it did, the Times would owe countless billions to other

journalists who “invest[] [] enormous amount[s] of time, money, expertise, and talent” in reporting

stories, Compl. ¶ 32, only to have the Times summarize them in its pages, see supra note 13.

         To avoid that problem, the Times focuses its allegations on two uncommon and unintended

phenomena: (1) training data regurgitation and (2) model hallucination. The first occurs when a

language model “generat[es] a sample that closely resembles [its] training data.”27 This most often


25
      Compl.      ¶    149;   OpenAI     Blog,     Introducing    ChatGPT      Enterprise     (Aug.     28,    2023),
https://openai.com/blog/introducing-chatgpt-enterprise; see also Compl. ¶¶ 63, 149 & nn.5 & 42 (citing this article);
26
   Hoehling, 618 F.2d at 978 (“[T]here cannot be any such thing as copyright in the order of presentation of the facts,
nor, indeed, in their selection.” (quoting Judge Learned Hand)); McDonald v. West, 138 F. Supp. 3d 448, 455
(S.D.N.Y. 2015) (“[C]opyright does not protect styles,” and “[f]or the same reason” it “does not protect ideas”).
27
   Gerrit J.J. van den Burg & Christopher K.I. Williams, On Memorization in Probabilistic Deep Generative Models



                                                         10
   Case 1:23-cv-11195-SHS-OTW                 Document 52          Filed 02/26/24        Page 20 of 35




happens “[w]hen the training data set contains a number of highly similar observations, such as

duplicates” of a particular work. Burg Paper at 2. Put simply, a model trained on the same block

of text multiple times will be more likely to complete that text verbatim when prompted to do so—

in the same way that any American who hears the words “I pledge allegiance” might reflexively

respond with the words “to the flag of the United States of America.”                        Training data

regurgitation—sometimes referred to as unintended “memorization” or “overfitting”—is a

problem that researchers at OpenAI and elsewhere work hard to address, including by making sure

that their datasets are sufficiently diverse. See id. (memorization occurs when “the algorithm has

not seen sufficient observations to enable generalization”); contra Compl. ¶ 93 (alleging that “the

GPT models [were] programmed to accurately mimic The Times’s content and writers”).

        The second phenomenon—hallucination—occurs when a model generates “seemingly

realistic” answers that turn out to be wrong.28 Hallucinations occur because language models are

not databases of information, but statistical engines that “predict[] words that are likely to follow”

a given prompt. Compl. ¶ 75. Like all probabilistic processes, they are not always 100% correct.

An ongoing challenge of AI development is minimizing and (eventually) eliminating

hallucination, including by using more complete training datasets to improve the accuracy of the

models’ predictions. See GPT-4 Paper at 46 (surveying techniques used to “reduce [GPT-4]’s

tendency to hallucinate” by between 19% and 29%). In the meantime, OpenAI warns users that,

because models “‘hallucinate’ facts,” “[g]reat care should be taken” when using them. Id. at 10.

        In an attempt to frame these undesirable phenomena as typical model behavior, the

Complaint features a number of examples of training data regurgitation and model hallucination


at 2 (2021), https://proceedings.neurips.cc/paper/2021/file/eae15aabaa768ae4a5993a8a4f4fa6e4-Paper.pdf (“Burg
Paper”); see also Compl. ¶ 80 n.10 (citing and quoting this article).
28
   Compl. ¶ 137; see also OpenAI, GPT-4 Technical Report at 46 (2023), https://cdn.openai.com/papers/gpt-4.pdf
(“GPT-4 Paper”); see also Compl. ¶ 59 n. 3 (quoting this source).



                                                     11
      Case 1:23-cv-11195-SHS-OTW                     Document 52           Filed 02/26/24          Page 21 of 35




generated by the Times after what appears to have been prolonged and extensive efforts to hack

OpenAI’s models. Notably, the Times does not allege in the Complaint that it made any attempt

to share these results with OpenAI (despite being asked to do so), or otherwise collaborate with

OpenAI’s ongoing efforts to prevent these kinds of outputs. Rather, the Times kept these results

to itself, apparently to set up this lawsuit. The Times’s examples fall into two categories:

(1) outputs generated by OpenAI’s models using its developer tools and (2) ChatGPT outputs.

                     1.       Outputs from Developer Tools

           Exhibit J features GPT-4 outputs the Times generated by prompting OpenAI’s API to

complete 100 Times articles. Most of the outputs are similar, but not identical, to the excerpts of

Times articles in the exhibit. The Times did not reveal what parameters it used or disclose whether

it used a “System” prompt to, for instance, instruct the model to “act like a New York Times reporter

and reproduce verbatim text from news articles.” See supra 9. But the exhibit reveals that the

Times made the strategic decision not to feature recent news articles—i.e., articles that Times

subscribers are most likely to read on the Times’s website—but to instead feature much older

articles published between 2.5 and 12 years before the filing of the Complaint.29

           The Complaint itself includes two examples of API outputs that include alleged

“hallucinations.” In the first, the Times used the API Playground to request an essay on how

“major newspapers” have reported on “0range [sic] Juice” and “non-hodgkin’s lymphoma,” and

ChatGPT generated a response referencing a non-existent Times article. See Compl. ¶ 140. The

second example consists entirely of excerpted snippets of code showing a “prompt” asking the

model for “Times articles about the Covid-19 Pandemic,” and output “text” consisting of five pairs

of titles and URLs. Id. The Times claims this output “mislead[s] users” and “tarnish[es]” its



29
     See Ex. J. at 2–5 (articles published in 2012 and 2019), id. at 6–126 (articles published in 2020 and 2021).



                                                            12
     Case 1:23-cv-11195-SHS-OTW                 Document 52           Filed 02/26/24         Page 22 of 35




marks. Id. ¶¶ 142, 202. But any user who received such an output would immediately recognize

it as a hallucination: each URL returns a “Page Not Found” error when entered into a browser.

                 2.       ChatGPT Outputs

        ChatGPT. The Complaint includes two examples of ChatGPT allegedly regurgitating

training data consisting of Times articles. Compl. ¶¶ 104–07. In both, the Times asked ChatGPT

questions about popular Times articles, including by requesting quotes. See, e.g., id. ¶ 106

(requesting “opening paragraphs,” then “the next sentence,” then “the next sentence,” etc.). Each

time, ChatGPT provided scattered and out-of-order quotes from the articles in question.30

        In its Complaint, the Times reordered those outputs (and used ellipses to obscure their

original location) to create the false impression that ChatGPT regurgitated sequential and

uninterrupted snippets of the articles. Compare id. ¶ 107, with supra note 30. In any case, the

regurgitated text represents only a fraction of the articles, see, e.g., Compl. ¶ 104 (105 words from

16,000+ word article), all of which the public can already access for free on third-party websites.31

        Browse with Bing. The Complaint also includes two examples of interactions with

“Browse with Bing” created using the same methods. Compl. ¶¶ 118–22. In both, ChatGPT

returned short snippets of Times articles. See id. ¶ 118 (reproducing first two paragraphs before

refusing subsequent request for more); id. ¶ 121 (reproducing snippets from first, fourth, and fifth

paragraphs). The Complaint suggests that ChatGPT obtained this text from third-party websites.32

30
   See Compl. ¶ 104 (providing article’s first two sentences in response to request for “first paragraph;” ignoring
request for “next paragraph” and instead providing quote beginning with article’s fifth paragraph); id. ¶ 106 (in
response to request for “opening paragraphs” and four requests for “the next sentence,” providing snippets of text
from first, second, 26th, 27th, eighth, and ninth paragraphs, in that order).
31
    See, e.g., George Getschow, The Best American Newspaper Narratives of 2012, Project Muse,
https://muse.jhu.edu/pub/172/edited_volume/chapter/1142918 (last visited Feb. 11, 2024); Raphael Brion, In Which
Guy Fieri Answers Pete Wells’ Many Questions, Eater (Nov. 14, 2012), https://www.eater.com/
2012/11/14/6522571/in-which-guy-fieri-answers-pete-wells-many-questions; see UBS Auction Rate, 2010 WL
2541166, at *10-12, 15 (courts take judicial notice of articles when not used “for the[ir] truth”).
32
   See Compl. ¶ 121 (ChatGPT linking to “dnyuz.com”). The regurgitated text in paragraph 118 includes a dateline
(“NEW YORK”) that does not appear on the Times’s website, but does appear on other third-party sites in which the



                                                        13
   Case 1:23-cv-11195-SHS-OTW                     Document 52           Filed 02/26/24         Page 23 of 35




         Wirecutter. Finally, the Complaint cites two examples of the Times’s attempts to probe

ChatGPT about “Wirecutter,” a section of the Times that recommends products in exchange for a

“commission” from manufacturers. Compl. ¶ 128. In both, the Times asked ChatGPT about a

specific Wirecutter recommendation, see id. ¶ 134, and ChatGPT responded by directing the user

to Wirecutter itself and providing a short, non-verbatim summary of the recommendation. Id.

¶ 130 (including hyperlink); id. ¶ 134 (urging user to “check [Wirecutter’s] latest reviews”).

III.     LEGAL STANDARD

         “[A] complaint must contain sufficient factual matter, accepted as true, to state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[C]onclusory

allegations or legal conclusions masquerading as fact[s]” do not suffice. Arcesium, LLC v. Advent

Software, Inc., No. 20-cv-04389, 2021 WL 1225446, at *5 (S.D.N.Y. Mar. 31, 2021).

IV.      ARGUMENT

         This Motion seeks dismissal of four claims. (1) OpenAI seeks partial dismissal of Count I

(Direct Copyright Infringement) to the extent it is based on acts of reproduction that occurred more

than three years before this action. Infra Section IV(A). (2) OpenAI seeks full dismissal of Count

IV (Contributory Infringement) for failure to allege that it had actual knowledge of the specific

acts of direct infringement alleged. Infra Section IV(B). (3) OpenAI seeks full dismissal of Count

V (Copyright Management Information or “CMI” Removal) for several reasons, including failure

to identify the CMI at issue, failure to allege OpenAI “remove[d]” CMI from any datasets or

outputs, failure to allege “distribution,” and failure to plead facts that suggest that OpenAI acted

with scienter. Infra Section IV(C). And (4) OpenAI seeks full dismissal of Count VI (Unfair

article in question is available for free. See id. ¶ 118; compare Hurubie Meko, The Precarious, Terrifying Hours After
a Woman Was Shoved Into a Train, N.Y. Times (May 25, 2023), https://www.nytimes.com/2023/05/25
/nyregion/subway-attack-woman-shoved-manhattan.html?smid=url-share, with Hurubie Meko, The precarious,
terrifying hours after a woman was shoved into a train, Seattle Times (May 27, 2023), https://www.seattletimes.com
/nation-world/nation/the-precarious-terrifying-hours-after-a-woman-was-shoved-into-a-train/.



                                                         14
     Case 1:23-cv-11195-SHS-OTW                  Document 52           Filed 02/26/24         Page 24 of 35




Competition by Misappropriation) on grounds of Copyright Act preemption. Infra Section IV(D).

        A.       The Times Cannot Sue for Conduct Occurring More than Three Years Ago

        Count I, for direct infringement, is based in part on OpenAI’s creation and use of training

datasets for GPT-2 and GPT-3. Compl. ¶¶ 160, 162. That claim appears to hinge on allegations

regarding (1) construction of the “WebText” database and OpenAI’s use of that dataset to train

GPT-2, see id. ¶ 85; (2) construction of an “expanded version of the WebText dataset” called

“WebText2,” see id. ¶ 87; and (3) use of WebText2 and Common Crawl to train GPT-3, see id.

¶¶ 87–88. Because all those activities occurred more than three years ago, supra 7, any claims

based on them are time-barred, 17 U.S.C. § 507(b) (three-year limitations period).33 Those claims

are “stale,” and the court should dismiss them so the parties can focus discovery on activities within

the limitations period. United States v. Kubrick, 444 U.S. 111, 117 (1979) (“[T]he right to be free

of stale claims in time comes to prevail over the right to prosecute them”).

        B.       The Complaint Fails to State a Contributory Infringement Claim

        Count IV attempts to hold OpenAI liable for “materially contribut[ing] to and directly

assist[ing] with the direct infringement perpetrated by end-users of the GPT-based products.”

Compl. ¶ 179. This claim relies on the doctrine of “contributory infringement,” a species of

secondary liability that the Supreme Court has defined by reference to the Patent Act. 35 U.S.C.

§ 271(b); Sony, 464 U.S. at 435–41. To plead it, a plaintiff must allege: “(1) direct infringement

by a third party, (2) that the defendant had knowledge of the infringing activity, (3) and that the

defendant materially contributed to the third party’s infringement.” Dow Jones & Co., Inc. v.

Juwai Ltd., No. 21-cv-7284, 2023 WL 2561588, at *3 (S.D.N.Y. Mar. 17, 2023) (cleaned up).

Here, the acts of “direct infringement” alleged are the example outputs from the Complaint,


33
  These claims are time-barred regardless of whether the discovery rule applies, as the Times discovered or with
reasonable diligence should have discovered these activities prior to December 27, 2020.



                                                        15
     Case 1:23-cv-11195-SHS-OTW                    Document 52           Filed 02/26/24          Page 25 of 35




discussed above. See supra 12. To proceed with Count IV, the Times must allege that OpenAI

“had knowledge” of the Times’s creation of those outputs. Dow Jones, 2023 WL 2561588, at *3.

         A defendant cannot be contributorily liable without “culpable intent,” and courts may not

“imput[e] intent” solely based on the “characteristics or uses of a [] product.” Metro-Goldwyn-

Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 934 (2005). As the Supreme Court explained

in Commil USA, LLC v. Cisco Sys., Inc., contributory patent infringement requires more than

allegations that a defendant knew there “might” be infringement. 575 U.S. 632, 642 (2015).

Instead, a plaintiff must allege that the defendant had actual knowledge of specific infringements.

         Courts have consistently applied this same approach to copyright claims. Pleading a

contributory copyright claim requires allegations that the defendant either had “actual knowledge

of specific acts of infringement” or “took deliberate actions to avoid learning about the

infringement.” Luvdarts LLC v. AT & T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013).34

As the Fourth Circuit recently explained, this follows directly from Commil, as well as other

foundational Supreme Court cases like Sony, 464 U.S. 417, and Grokster, 545 U.S. 913. See BMG

Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 308–10 (4th Cir. 2018) (allegations

that defendant “should have known” insufficient).                    Courts in this district agree, rejecting

allegations that defendants are “general[ly] aware[] that there are infringements” as insufficient.35

         Here, the only allegation supporting the Times’s contributory claim states that OpenAI

“had reason to know of the direct infringement by end-users” because of its role in “developing,


34
   The Second Circuit adopted this rule in Viacom Int’l, Inc. v. YouTube, Inc. for the parallel standard under 17 U.S.C.
§ 512. 676 F.3d 19, 35 (2d Cir. 2012) (requiring actual knowledge or “deliberate effort to avoid [] knowledge”). It
also used a similar rule in the Lanham Act context in Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 107 (2d Cir. 2010)
(“contributory [] liability” requires “contemporary knowledge of which particular [acts] are infringing”).
35
   Lefkowitz v. John Wiley & Sons, No. 13-cv-6414, 2014 WL 2619815, at *11 (S.D.N.Y. June 2, 2014) (dismissing
claim); State Street Global Advisors Trust Co. v. Visbal, 431 F. Supp. 3d 322, 358 (S.D.N.Y. 2020) (same); see also
Hartmann v. Popcornflix.com LLC, No. 20-cv-4923, 2023 WL 5715222, at *6 (S.D.N.Y. Sept. 5, 2023) (dismissing
for failure to plead defendant “would have had reason to investigate the [] infringement”); Hartmann v. Apple, Inc.,
No. 20-cv-6049-GHW, 2021 WL 4267820, at *7 (S.D.N.Y. Sept. 20, 2021) (“general ability to discover” insufficient).



                                                          16
  Case 1:23-cv-11195-SHS-OTW               Document 52        Filed 02/26/24      Page 26 of 35




testing, and troubleshooting” its products. Compl. ¶ 180. But “generalized knowledge” of “the

possibility of infringement” is not enough. Luvdarts, 710 F.3d at 1072. The Complaint does not

allege OpenAI “investigated or would have had reason to investigate” the use of its platform to

create copies of Times articles. Popcornflix.com, 2023 WL 571522, at *6. Nor does it suggest

that OpenAI had any reason to suspect this was happening. Indeed, OpenAI’s terms expressly

prohibit such uses of its services. Supra note 8. And even if OpenAI had investigated, nothing in

the Complaint explains how it might evaluate whether these outputs were acts of copyright

infringement or whether their creation was authorized by the copyright holder (as they were here).

       C.      The DMCA Claim Fails for Multiple Independent Reasons

       Count V is a claim for violation of Section 1202(b) of the Copyright Act, which prohibits

the “[r]emoval or [a]lteration” of copyright management information or “CMI.” 17 U.S.C.

§ 1202(b). Congress passed that provision in the early days of the internet in recognition of the

ease with which unauthorized copies of images and other works might proliferate in cyberspace.

The provision encourages rightsholders to affix CMI to their works (and prohibits its removal) so

that, if their works do proliferate on the internet, the public will be able to trace those works back

to their owner. S. Rep. No. 105-190, at 16–17 (1998) (CMI intended to “track[] and monitor[]”).

But Congress limited the statute with a “double-scienter requirement” that prevents its application

when the CMI removal occurs as an unintended result of an “automatic [] process.” Zuma Press,

Inc. v. Getty Images (US), Inc., 845 F. App’x 54, 57–58 (2d Cir. 2021). A typical CMI case might

involve the surreptitious removal of a photograph’s “gutter credit” to conceal a failure to seek a

license from the rightsholder. Mango v. BuzzFeed, Inc., 970 F.3d 167, 169–70, 173 (2d Cir. 2020).

               1.      The Times Did Not Specify the CMI at Issue

       Count V should be dismissed at the outset for failure to specify the CMI at issue. The




                                                 17
     Case 1:23-cv-11195-SHS-OTW                 Document 52          Filed 02/26/24        Page 27 of 35




Complaint’s relevant paragraph fails to state what CMI is included in what work, and simply

repeats the statutory text. Compl. ¶ 182 (alleging “one or more forms of [CMI]” and parroting

language of Section 1202(c)).36 The only firm allegation states that the Times placed “copyright

notices” and “terms of service” links on “every page of its websites.” Compl. ¶ 125. But, at least

for some articles, it did not.37 And when it did, the information was not “conveyed in connection

with” the works, 17 U.S.C. § 1202(c) (defining CMI), but hidden in small text at the bottom of the

page.38 Judge Orrick of the Northern District of California rejected similar allegations as deficient

in another recent AI case. Andersen v. Stability AI Ltd., No. 23-cv-00201, 2023 WL 7132064, at

*11 (N.D. Cal. Oct. 30, 2023) (must plead “exact type of CMI included in [each] work”).39

                 2.       The Training-Based Section 1202 Claim Fails

        The first Section 1202 violation alleged in the Complaint asserts that OpenAI “removed”

CMI “in building the training datasets” in violation of Section 1202(b)(1) of the DMCA. Compl.

¶ 184. As a preliminary matter, to the extent this claim is based on the “building [of] training

datasets” that occurred more than three years ago, it is time-barred. 17 U.S.C. § 507(b).

        The Complaint also fails to plausibly allege that any CMI was removed. The Times

advances three theories of removal: (1) removal of CMI when OpenAI allegedly “scraped” articles

from the Times’s website; (2) removal of CMI “from third-party datasets,” i.e., Common Crawl;

and (3) removal of CMI during “the training process,” which the Times alleges “does not preserve

36
   Design Pics Inc. v. PBH Network, Inc., No. 20-cv-1096, 2020 WL 8413512, at *4 (E.D.N.Y. Oct. 27, 2020)
(dismissing CMI claim based on “conclusory, boilerplate parroting of the statutory text”).
37
     See, e.g., John Branch, Snow Fall: The Avalanche at Tunnel Creek, N.Y. Times,
https://www.nytimes.com/projects/2012/snow-fall/index.html#/?part=tunnel-creek (last accessed Feb. 11, 2024); see
also Compl. ¶¶ 104–05 & n.28 (citing this article).
38
      See,    e.g.,   Pete    Wells,     As    Not    Seen    on    TV,    N.Y.     Times   (Nov.    13,  2012),
https://www.nytimes.com/2012/11/14/dining/reviews/restaurant-review-guys-american-kitchen-bar-in-times-
square.html; see also Compl. ¶¶ 106–07 & n.29 (citing and quoting this article).
39
   See also Wood v. Observer Holdings, LLC, No. 20-cv-07878, 2021 WL 2874100, at *8 (S.D.N.Y., July 8, 2021)
(terms on “separate website” not CMI); GC2 Incorporated v. Int’l Game Tech. PLC, 255 F. Supp. 3d 812, 821–22
(N.D. Ill. 2017) (“terms of use notice near a copyrighted work” not “conveyed in connection with” work).



                                                       18
     Case 1:23-cv-11195-SHS-OTW                  Document 52           Filed 02/26/24         Page 28 of 35




any [CMI]” “by design.” Compl. ¶¶ 184, 187. As a preliminary matter, each theory fails for failure

to allege what CMI was removed or “not preserve[d],” which is particularly damning as the Times

concedes that some CMI was preserved.40 Judge Martínez-Olguín of the Northern District of

California recently held an identical set of allegations to be insufficient. See Tremblay v. OpenAI,

Inc., No. 3:23-cv-03416, 2024 WL 557720, at *4 (N.D. Cal. Feb. 12, 2024) (allegation that

“training process does not preserve any CMI” “by design” was “conclusory”).

        Each theory fails separately as well. The first theory fails because, while the Times states

that OpenAI “scraped” its articles “directly from [its] websites,” none of the specific allegations

actually suggest OpenAI designed its alleged “scrap[ing]” process to omit CMI. Compl. ¶ 184.41

And the only allegations about OpenAI “scraping” articles from Times websites relate to the

creation of WebText, which occurred over three years before this lawsuit. Supra Section IV.A.42

The second theory fails because the Complaint lacks allegations about the inclusion (or exclusion)

of the Times’s CMI in any “third-party datasets” like Common Crawl,43 much less about OpenAI

scrubbing any CMI from those datasets. First Nationwide Bank v. Gelt Funding Corp., 27 F.3d

763, 771 (2d Cir. 1994) (courts ignore “unwarranted deductions of fact”). And the third theory

fails because there is no allegation in the Complaint supporting the conclusion that the “training

process” excludes CMI “[b]y design.” Compl. ¶ 187; see also Tremblay, 2024 WL 557720, at *4.

        Moreover, the Times fails to allege facts that could show how the alleged CMI removal

could “induce, enable, facilitate, or conceal an infringement” of copyright—much less how

40
   See, e.g., Compl. ¶ 106 (ChatGPT responding to query naming “Pete Wells” with a completion correctly identifying
the publication date of Wells’ article); see also id. ¶ 104 (same, for title).
41
   Kelly v. Arriba Soft Corp., 77 F. Supp. 2d 1116, 1122 (C.D. Cal. 1999), rev'd on other grounds by 336 F.3d 811
(9th Cir. 2003) (no Section 1202 liability vs. search engine “crawler [that] did not include [CMI]”).
42
   The Times suggests that OpenAI’s “Browse with Bing” feature “scrap[es] Times Works from The Times’s
websites,” Compl. ¶ 185, but the Complaint does not include a single allegation supporting that conclusion, see supra
13 & n.32 (noting that Browse with Bing fetched content from third-party sites, not the Times’s website).
43
   OpenAI cannot have removed CMI from datasets that “contained no such [CMI]” in the first place. McGucken v.
Shutterstock, Inc., No. 22-cv-00905, 2023 WL 6390530, at 11 (S.D.N.Y. Oct. 2, 2023) (rejecting DMCA claim).



                                                        19
     Case 1:23-cv-11195-SHS-OTW                  Document 52           Filed 02/26/24         Page 29 of 35




OpenAI could have “reasonable grounds to know” it would. 17 U.S.C. § 1202(b). The “point of

CMI” is to provide information to “the public,” not to govern purely internal databases. Roberts

v. BroadwayHD LLC, 518 F. Supp. 3d 719, 737 (S.D.N.Y. 2021); Compl. ¶ 59. As Judge

Martínez-Olguín explained, it is far from obvious how “the alleged removal of CMI in an internal

database [could] enable infringement.” Tremblay, 2024 WL 557720, at *4 (dismissing claim).44

                 3.       The Output-Based Section 1202 Claim Fails

        The second category of Section 1202 violation in the Complaint alleges that (1) OpenAI

violated Section 1202(b)(1)’s removal prohibition by failing to include the Times’s CMI in model

outputs, Compl. ¶¶ 185–86; and (2) by displaying those outputs via ChatGPT or its API, OpenAI

violated Section 1202(b)(3)’s prohibition on “distribut[ing]” works “knowing that [CMI] has been

removed,” Compl. ¶ 189. Neither theory states a claim for relief.

        As a preliminary matter, the Times’s Section 1202(b)(3) claim fails because the Complaint

does not allege that OpenAI “distribute[d]” any outputs. In this context, “distribution” requires a

“sale or transfer of ownership extending beyond that of a mere public display.” Wright v. Miah,

No. 22-cv-4132, 2023 WL 6219435, at *7 (E.D.N.Y. Sept. 7, 2023) (emphasis added).45 But “mere

public display” of outputs is all the Complaint alleges. See, e.g., Compl. ¶ 102.

        Regardless, this “output” theory fails because the outputs alleged in the Complaint are not

wholesale copies of entire Times articles. They are, at best, reproductions of excerpts of those

articles, some of which are little more than collections of scattered sentences. Supra 12. If the

absence of CMI from such excerpts constituted a “removal” of that CMI, then DMCA liability


44
   See Victor Elias Photography, LLC v. Ice Portal, Inc., 43 F.4th 1313, 1325 (11th Cir. 2022) (requiring “some
identifiable connection between the defendant’s actions and the infringement or the likelihood of infringement.”).
45
   Id. at *10 (endorsing Section 1202(b)(3) claim where defendant distributed artwork on Etsy); MyPlayCity, Inc. v.
Conduit Ltd., No. 10-cv-1615, 2012 WL 1107648, at *12 (S.D.N.Y. Mar. 30, 2012) (“distribution” means “actual
dissemination of copies”); FurnitureDealer.Net, Inc v. Amazon.com, Inc, No. 18-cv-232, 2022 WL 891473, at *23
(D. Minn. Mar. 25, 2022) (“[P]ublic display does not constitute distribution, and thus is not a [DMCA] violation.”).



                                                        20
     Case 1:23-cv-11195-SHS-OTW                  Document 52           Filed 02/26/24         Page 30 of 35




would attach to any journalist who used a block quote in a book review without also including

extensive information about the book’s publisher, terms and conditions, and original copyright

notice. See supra note 22 (example of the Times including 200-word block quote in book review).

        To avoid such anomalous results, courts have cabined applications of Section 1202(b)(1)

and (3) to circumstances in which the works in question were “substantially or entirely

reproduced.” Fischer v. Forrest, 286 F. Supp. 3d 590, 609 (S.D.N.Y. 2018). As such, failure to

include original CMI in anything less than an identical reproduction of all (or almost all) of the

work does not qualify as CMI removal. Tremblay, 2024 WL 557720, at *5 (dismissing claim

because “Plaintiffs have not alleged that [OpenAI] distributed their books or copies of [them]”).46

As the Times has not alleged that OpenAI reproduced entire articles, the output-based claim fails.

        Even setting that aside, the Times’s output-based CMI claim fails for the independent

reason that there was no CMI to remove from the relevant text. The Exhibit J outputs, for example,

feature text from the middle of articles. Ex. J. at 2–126. As shown in the exhibit, the “Actual text

from NYTimes” contains no information that could qualify as CMI. See, e.g., id. at 3; 17 U.S.C.

§ 1202(c) (defining CMI). So too for the ChatGPT outputs featured in the Complaint, which

request the “first [and subsequent] paragraph[s]” from Times articles. See, e.g., Compl. ¶¶ 104,

106, 118, 121. None of those “paragraphs” contains any CMI that OpenAI could have “removed.”

                 4.       The Times Fails to Allege a CMI-Based Injury

        Count V separately fails for lack of standing. “[T]o have standing” to sue for a DMCA

violation, the Times “must show that [it] was injured by that violation.” Steele v. Bongiovi, 784

46
   See also Doe 1 v. GitHub, Inc., No. 22-cv-06823, 2024 WL 235217, *9 (N.D. Cal. Jan. 22, 2024) (dismissing
Section 1202(b) claim against OpenAI because outputs were “not identical” to originals); A’Lor Int’l, Ltd. v. Tapper
Fine Jewelry, Inc., No. 12-cv-02215, 2012 WL 12921035, at *10 (C.D. Cal. Aug. 8, 2012) (“the plain language of the
statute encompasses only removal and alteration;” does not “include [mere] omissions”); Faulkner Press, L.L.C. v.
Class Notes, L.L.C., 756 F. Supp. 2d 1352, 1358–59 (N.D. Fla. 2010) (rejecting claim where “word for word” text
was “copied into a different form and [] incorporated into” commercial materials); Kelly, 77 F. Supp. 2d at 1121–22
(“displaying thumbnails of Plaintiffs’ images without [] the corresponding [CMI]” was not CMI “removal”).



                                                        21
  Case 1:23-cv-11195-SHS-OTW              Document 52        Filed 02/26/24      Page 31 of 35




F. Supp. 2d 94, 97–98 (D. Mass. 2011); see also 17 U.S.C. § 1203(a). Here, the Complaint’s

“Harm to the Times” section relates entirely to its inability to receive speculative licensing

revenue, see Compl. ¶¶ 155–56, and the possibility that ChatGPT will “divert readers,” see id.

¶ 157. Neither injury has any nexus to CMI. Nor is there any imaginable harm here: because all

of the Complaint’s outputs were either generated using the original Times article itself, see Ex. J,

or referenced the Times by name, see, e.g., Compl. ¶ 104, any user who encountered those outputs

would have no doubt as to the provenance of the text and could easily find it on the Times’s website

(as ChatGPT often invites them to do, see id. ¶¶ 106, 134). Cf. Kelly, 77 F. Supp. 2d at 1122

(DMCA claim failed because users who encounter images are “given the name of the Web site

from which Defendant obtained the image, where any associated [CMI] would be available”).

       D.      The “Misappropriation” Claim Is Preempted by the Copyright Act

       Count VI, for “misappropriation” under New York law, appears to raise two distinct

theories. The first suggests that OpenAI engages in “unfair competition” by using “Times content

to train models that produce informative text of the same general type and kind that [t]he Times

produces.” Compl. ¶ 195 (the “Text Claim”). The second suggests that OpenAI harms the Times

because ChatGPT can respond to user queries about Wirecutter recommendations. Id. ¶ 194 (the

“Recommendations Claim”). Both are preempted by the Copyright Act. 17 U.S.C. § 301(a).

               1.      The Text Claim Fails

       The Text Claim is preempted by Section 301 of the Copyright Act, which “oust[s] the states

from imposing any control of the area” governed by federal copyright law. In re Jackson, 972

F.3d 25, 42 (2d Cir. 2020). Preemption applies if two conditions are met: (1) the claim relates to

“works of authorship . . . within [copyright’s] subject matter” (“subject matter” condition); and

(2) the rights asserted are “equivalent to any of the exclusive rights within [copyright’s] general




                                                22
     Case 1:23-cv-11195-SHS-OTW                 Document 52           Filed 02/26/24         Page 32 of 35




scope” (“general scope” condition). 17 U.S.C. § 301(a). Here, the subject matter condition is

satisfied because the claim is based on OpenAI’s use of (1) Times articles, which are “literary

works,” 17 U.S.C. § 102(a), and (2) facts from those articles which, while unprotectable, fall

“within the subject matter of copyright for the purposes of [] preemption,” Barclays Capital Inc.

v. Theflyonthewall.com, Inc., 650 F.3d 876, 893 (2d Cir. 2011). And the general scope condition

is satisfied because the rights asserted are not “qualitatively different from a copyright [] claim.”

In re Jackson, 972 F.3d at 43–44. One aspect of the Text Claim is based on the use of content to

“train models,” Compl. ¶ 195, which is one of the stated bases of the copyright claim, id. ¶¶ 64,

161–62. The other is based on outputs that are “the same or similar to content published by [t]he

Times,” id. ¶ 194–95, which is the other stated basis of the copyright claim, see id. ¶ 163. Because

the Text Claim is based on the same allegations as the copyright claims, the claim is preempted.47

                 2.       The Recommendations Claim Fails

        The Recommendations Claim focuses on Wirecutter, a Times-owned website that

publishes articles to guide readers through difficult purchase decisions. See, e.g., Compl. ¶¶ 130,

134. Wirecutter makes “the vast majority of its revenue” through “commission[s],” which it earns

when users click “affiliate links” in its articles and purchase a product. Id. ¶¶ 128–29. According

to the Times, by complying with requests to identify Wirecutter-recommended products, ChatGPT

reduces the need for users to “visit the [] Wirecutter article and click on [these] links,” id., thus

“depriving [t]he Times of the opportunity to receive referral revenue,” id. ¶ 194.

        This claim is almost identical to the “misappropriation” claim the Second Circuit rejected

in Barclays. 650 F.3d 876 (2d Cir. 2011). That case concerned stock recommendations which

banks provided to paying clients as a mechanism for generating commissions. Id. at 880–82. The


47
  Financial Information, Inc. v. Moody’s Investors Serv., Inc., 808 F.2d 204, 206, 208–09 (2d Cir. 1986)
(misappropriation claim based on allegation that defendant “copied 40–50% of [plaintiff’s] information” preempted).



                                                        23
     Case 1:23-cv-11195-SHS-OTW                   Document 52           Filed 02/26/24         Page 33 of 35




defendant “compile[d]” those recommendations and provided them “to their own subscribers for

a fee.” Id. at 882. The banks brought a “misappropriation” claim, stressing that they “spend

hundreds of millions of dollars annually” generating the recommendations, and that the defendant

“seriously threatens their ability to justify [that] expense.” Id. at 881, 885–86.

         The Second Circuit first held that the claim satisfied the conditions for Copyright Act

preemption: (1) the “facts of the Recommendations,” while unprotectable, fell within the subject

matter of copyright; and (2) the banks claimed the right to control the reproduction of those

recommendations, which falls within the “general scope” of copyright. Id. at 902. The Court,

however, explained that its precedents recognized a “narrow” preemption exception for “hot news”

claims endorsed by the Supreme Court in the Int’l News Serv. v. Associated Press (INS), 248 U.S.

215 (1918) case. Barclays, 650 F.3d at 896–98.48 Accordingly, the merits of the claim depended

on whether it fell into the “narrow” category of “INS-type non-preempted claims.” Id. at 902–03.

         The Circuit held it did not. First, while “INS-type” claims involve defendants who “sell

[purloined] news as though the defendant itself had gathered it,” the Barclays defendant was

“selling the information with specific attribution to the issuing [bank].” Id. (emphasis added). For

that reason, there was no “meaningful difference” between the defendant’s republication of the

recommendations and a “member[] of the traditional news media” reporting on information “with

proper attribution.” Id. at 903–04. Second, INS-type claims concern defendants who appropriate

material (e.g., news) that the defendants “acquire through efforts akin to reporting.” Id. at 903.

But the banks’ claim sought “only to protect their Recommendations, something they create using

their expertise and experience”—which brought the claim closer to copyright’s exclusive domain.

Id. For those reasons, the defendant’s “service—which collects, summarizes, and disseminates


48
  INS concerned a news service that “lift[ed] factual stories from AP bulletins and sen[t] them by wire to INS papers”
for republication without attribution to the AP. Barclays, 650 F.3d at 894, 896–98 (quoting INS).



                                                         24
     Case 1:23-cv-11195-SHS-OTW             Document 52        Filed 02/26/24       Page 34 of 35




the news of the [banks’] Recommendations—[was] not the kind of ‘INS-like’ product that could

support a non-preempted cause of action for misappropriation.” Id. at 905.

        The Recommendations Claim fails for the same reasons. First, it satisfies the preemption

conditions: it (1) relates to facts within copyright’s “subject matter;” and (2) asserts the right to

control reproduction of those facts, which falls within copyright’s “general scope.” Id. at 902.

        Second, to the extent the Times has attempted to plead an “INS-type non-preempted

claim[]” for misappropriation, id. at 902, it has failed to do so for the reasons discussed in Barclays.

OpenAI is not “selling the Recommendation[s] ‘as its own.’” Id. at 903. It provides “specific

attribution to” Wirecutter, which means this is not an INS claim. Id. Moreover, Wirecutter

recommendations are not facts that the Times “acquire[s] through efforts akin to reporting;”

rather, the Times “seek[s] only to protect [its] Recommendations, [which it] create[s] using [its]

expertise and experience.” Id. The claim is therefore governed exclusively by copyright law,

under which the quantum of the Times’s “investment” is irrelevant to its right to monopolize the

results. Compl. ¶ 196; Moody’s, 808 F.2d at 207 (“[T]o grant copyright protection based merely

on the ‘sweat of the author’s brow’ would risk putting large areas of factual research material off

limits and threaten the public’s unrestrained access to information.”); Barclays, 650 F.3d at 886

(rejecting claim despite allegation that defendant “seriously threatens [banks’] ability to justify the

expense of maintaining [] extensive research operations”).

V.      CONCLUSION

        For the foregoing reasons, the Court should (1) dismiss Counts IV, V, and VI; (2) dismiss

Count I to the extent it is based on acts outside the limitations period; and, (3) if Count V survives,

dismiss that count to the extent it is based on acts outside the limitations period.




                                                  25
     Case 1:23-cv-11195-SHS-OTW                    Document 52           Filed 02/26/24         Page 35 of 35




Dated: February 26, 2024                               Respectfully submitted,

                                                       By: /s/ Andrew M. Gass
                                                       LATHAM & WATKINS LLP
                                                       Andrew M. Gass (pro hac vice)
                                                        andrew.gass@lw.com
                                                       Joseph R. Wetzel
                                                        joseph.wetzel@lw.com
                                                       505 Montgomery Street, Suite 2000
                                                       San Francisco, CA 94111
                                                       Telephone: 415.391.0600
                                                       Sarang V. Damle
                                                        sy.damle@lw.com
                                                       555 Eleventh Street, NW, Suite 1000
                                                       Washington, D.C. 20004
                                                       Telephone: 202.637.2200
                                                       Allison L. Stillman
                                                        alli.stillman@lw.com
                                                       Luke A. Budiardjo
                                                        luke.budiardjo@lw.com
                                                       1271 Avenue of the Americas
                                                       New York, NY 10020
                                                       Telephone: 212.751.4864

                                                       By: /s/ Joseph C. Gratz
                                                       MORRISON & FOERSTER LLP
                                                       Joseph C. Gratz (pro hac vice)*
                                                        jgratz@mofo.com
                                                       Vera Ranieri (pro hac vice forthcoming)
                                                        vranieri@mofo.com
                                                       425 Market Street
                                                       San Francisco, CA 94105
                                                       Telephone: 415.258.7522
                                                       Allyson R. Bennett (pro hac vice forthcoming)
                                                        abennett@mofo.com
                                                       Rose S. Lee (pro hac vice)
                                                        roselee@mofo.com
                                                       707 Wilshire Boulevard, Suite 6000
                                                       Los Angeles, CA 90017-3543
                                                       Telephone: 213.892.5454

                                                       Attorneys for OpenAI Defendants

*
    The parties use electronic signatures with consent in accordance with Rule 8.5(b) of the Court’s ECF Rules.



                                                           26
